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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                                  Criminal No. 07-488 (ADC)

 [45] ZULMA RIVERA-BENITEZ ,
        Defendant.



               ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is an unopposed Report and Recommendation issued by Magistrate-

Judge Camille Vélez-Rivé on August 18, 2008. (Docket No. 623). In said Report and

Recommendation the Magistrate-Judge recommends that: defendant Zulma Rivera-Benítez

be adjudged guilty of the offenses charged in Count I (T. 21, U.S.C. §§ 846, 845(a)(1), (b)(1)(C),

(b)(2) and 860) inasmuch as, his plea of guilty was intelligently, knowingly and voluntarily

entered.

       Neither party has filed objections to the Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).
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       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby APPROVES

and ADOPTS the Magistrate-Judge’s Report and Recommendation in its entirety.

       Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.

       The sentencing hearing is set for November 20, 2008 at 2:30 p.m.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 10th day of September, 2008.



                                                S/AIDA M. DELGADO-COLON
                                                United States District Judge
